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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DAILY NEWS, LP; CHICAGO TRIBUNE
COMPANY, LLC; ORLANDO SENTINEL
COMMUNICATIONS COMPANY, LLC; SUN-
SENTINEL COMPANY, LLC; SAN JOSE                          Case No. 1:24-cv-03285-SHS-OTW
MERCURY-NEWS, LLC; DP MEDIA
NETWORK, LLC; ORB PUBLISHING, LLC;
and NORTHWEST PUBLICATIONS, LLC,

                               Plaintiffs,

               v.

MICROSOFT CORPORATION; OPENAI, INC.;
OPENAI LP; OPENAI GP, LLC; OPENAI, LLC;
OPENAI OPCO, LLC; OPENAI GLOBAL, LLC;
OAI CORPORATION, LLC; and OPENAI
HOLDINGS, LLC,

                               Defendants.


         OPENAI DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
                    IN SUPPORT OF MOTION TO DISMISS

       Defendants Open AI, Inc., OpenAI L.P., OpenAI GP, L.L.C., OpenAI, L.L.C., OpenAI

OpCo, L.L.C., OpenAI Global, L.L.C., OAI Corporation, L.L.C., and OpenAI Holdings, L.L.C.

(collectively, “OpenAI”), by and through counsel, respectfully submit this Notice of Supplemental

Authority to apprise the Court of a recent order that further supports Defendants’ pending Motion

to Dismiss (Dkt. 80).

       On August 12, 2024, in Andersen, et al. v. Stability AI LTD., et al., No. 23-cv-00201 (N.D.

Cal.), the United States District Court for the Northern District of California granted Stability AI’s

motion to dismiss the claim under Section 1202(b) of the Digital Millenium Copyright Act

(“DMCA”) with prejudice “[b]ecause there are no allegations that any output from [Stability AI’s




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product] was identical to a plaintiff’s work.” See Order Granting in Part and Denying in Part

Motions to Dismiss First Amended Complaint, Andersen, No. 23-cv-00201, Dkt. 223 at 13

(attached hereto as Exhibit 1). In so holding, the Court reasoned that “Section 1202(b) claims

require that copies be ‘identical’” and “allegations stat[ing] that output[s]” from the product are

“modification[s] of . . . licensed works, as opposed to an ‘identical copy’ . . . effectively plead[]”

a plaintiff out of a Section 1202(b) claim. Id. at 12 (quoting Doe 1 v. GitHub, Inc., No. 22-CV-

06823, 2024 WL 235217, at *8 (N.D. Cal. Jan. 22, 2024)).

        The Court’s decision in Andersen is relevant to OpenAI’s pending Motion to Dismiss the

Plaintiffs’ DMCA claim “because the Complaint does not allege that OpenAI distributed identical

copies of Plaintiffs’ works.” Dkt. 82 at 19. Plaintiffs argued that their DMCA claim is viable

because the DMCA does not confine DMCA “claim[s] to ‘entire’ copies.” Dkt. 100 at 19.




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Dated: August 15, 2024             Respectfully Submitted,

                                   By: /s/ Elana Nightingale Dawson

                                   LATHAM & WATKINS LLP
                                      Andrew M. Gass (pro hac vice)
                                      andrew.gass@lw.com
                                      Joseph R. Wetzel
                                      joseph.wetzel@lw.com
                                      505 Montgomery Street, Suite 2000
                                      San Francisco, CA 94111
                                      Telephone: 415.391.0600
                                        Sarang V. Damle
                                        sy.damle@lw.com
                                        Elana Nightingale Dawson (pro hac vice)
                                        elana.nightingaledawson@lw.com
                                        555 Eleventh Street, NW, Suite 1000
                                        Washington, D.C. 20004
                                        Telephone: 202.637.2200
                                        Allison L. Stillman
                                        alli.stillman@lw.com
                                        1271 Avenue of the Americas
                                        New York, NY 10020
                                        Telephone: 212.906.1200

                                   By: /s/ Vera Ranieri

                                   MORRISON & FOERSTER LLP
                                      Joseph C. Gratz (pro hac vice)
                                      jgratz@mofo.com
                                      Vera Ranieri (pro hac vice)*
                                      425 Market Street
                                      San Francisco, CA 94105
                                      Telephone: 415.258.7522
                                        Allyson R. Bennett (pro hac vice)
                                        abennett@mofo.com
                                        707 Wilshire Boulevard, Suite 6000
                                        Los Angeles, CA 90017-3543
                                        Telephone: 213.892.5454

                                   By: /s/ Paven Malhotra

                                   KEKER, VAN NEST & PETERS LLP
                                      Robert A. Van Nest (pro hac vice)
                                      rvannest@keker.com



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                                                      Paven Malhotra (pro hac vice)*
                                                      pmalhotra@keker.com
                                                      Michelle S. Ybarra (pro hac vice)
                                                      mybarra@keker.com
                                                      Nicholas S. Goldberg (pro hac vice)
                                                      ngoldberg@keker.com
                                                      Thomas E. Gorman (pro hac vice)
                                                      tgorman@keker.com
                                                      Katie Lynn Joyce (pro hac vice)
                                                      kjoyce@keker.com
                                                      633 Battery Street
                                                      San Francisco, CA 94111-1809
                                                      Telephone: 415.391.5400

                                                      Attorneys for OpenAI Defendants




*
 All parties whose electronic signatures are included herein have consented to the filing of this
document in accordance with Rule 8.5(b) of the Court’s ECF Rules and Instructions.


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